Case 2:05-cv-02131-.]DB-dkv Document 5 Filed 07/18/05 Page 1 of 2 Page|D 5

 

D.C.
UNITED STA TES DISTRICT COURT nw BY "' \€£'
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WESTERN DIVISION THOWS M wm
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"' \;,»') § : irl_ .i. HES
HARDWOOD MARKET REPORT, *A*M*E*N*D*E*D* JUDGMENT
IN A CIVIL CASE
Plaintiff,
v.
HARDWOOD PUBLISHING, INC., CASE NO: 2:05-213l-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED ANI) ADJUDGED that in accordance With the Notice Of Voluntary
Dismissal entered on July 1], 2005, this cause is hereby dismissed *without* prejudice.

ROVED:

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J ANIEL BREEN
' TED STATES DISTRICT COURT
/ THOMAS M. GOL\-D

   

Clerk of Court

Mi;¢n/QW/

(By) Deputy Clerk
This document entered on the docket h Ce?|n com iiance
with Hu|e 58 and/or 79(a) FHCF on 2" § ‘ 615

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
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Honorable .1. Breen
US DISTRICT COURT

